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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 CARROLL INDEPENDENT SCHOOL                     §
 DISTRICT,                                      §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §    Civil Action No. 4:24-cv-00461-O
                                                §
 UNITED STATES DEPARTMENT OF                    §
 EDUCATION, et al.,                             §
                                                §
        Defendants.                             §


                                           ORDER

       Before the Court is Defendants’ Unopposed Motion to Extend Deadline for Responding to

Plaintiffs’ Complaint (ECF No. 44), filed on July 17, 2024. Because the request is unopposed and

contains no evidence of undue delay, bad faith, or dilatory motive, the Court GRANTS the

requested relief. Accordingly, Defendants must respond by August 13, 2024.

       SO ORDERED on this 18th day of July, 2024.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
